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                          TN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION


                                                  ) Case no. 4:16 CV 2163 CDP
 MISSOURI PRIMATE FOUNDATION, et.                 )
 al.,

        Plaintiffs and Counter-Defendants,        )   DEFENDANT ANDREW SAWYER’S
                                                  )   OPPOSITION TO COUNTERCLAIM
                                                  )   PLAINTIFF’S MOTION FOR SANCTIONS
  vs.                                             )   FOR SPOLIATION OF EVIDENCE
                                                  )
PEOPLE FOR THE ETHICAL TREATMENT)
OF ANIMALS, INC., et. al.,      )
        Defendant and Counter-Plaintiff.
                                                  )


        Plaintiff and Counter-Defendant Andrew Sawyer (“Sawyer”), by and through counsel,

hereby opposes Defendant and Counter-Plaintiff’s Motion For Sanctions For Spoliation Of

Evidence as follows:

I. No Evidence Has In Fact Been “Spoliated” By Counter-Defendant Sawyer

        Spoliation is the destruction or significant alteration of evidence or the failure to preserve

property for another’s use as evidence in pending or reasonably foreseeable litigation. See West

v. Goodyear Tire & Rubber Co., 167 F3d 776, 779 (2d Cir 1999). Crucially distinct from the

erasure or deletion of a computer file, or the burning or disassembly of a vehicle or record, the
 animal Joey has not been “destroyed” at all, nor has Counter-Defendant Sawyer “failed to

 preserve” the animal in any fashion. To the contrary, Counter-Plaintiffs own evidence at most

 shows simply that the animal Joey has merely been moved from one location to another. Not

 only is it the moving party’s burden to show that the purported evidence has in fact been

 “destroyed” in the accepted physical and permanent sense, not the opposing party’s burden to

 show that it has not, but, to the extent that it is ever deemed appropriate via a formal Court order

to have such done, Counter-Plaintiffs own statements disclose that a relocation of an animal

simply does not in any manner effectively prohibit the animal from being evaluated and

examined   —   again, if evaluation is even later required. Since Counter-Plaintiff has no proof at all

of Counter-Defendant Sawyer’s actual “destruction” or “failed preservation” as the rules

command, then no sanctions can be imposed at all on that Counter-Defendant since there has

been no spoliation in the first place. See, Donohoe v. Am. Isuzu Motors, Inc., 157 FRD 238, 244

(MD Pa 1994).

II. The Requisite Intent To Destroy And Suppress Are Absent As To Counter-Defendant Sawyer

        In addition, a spoliation-of-evidence sanction requires “a finding of intentional

destruction indicating a desire to suppress the truth.” Greyhound Lines, Inc. v. Wade, 485 F.3d

1032, 1035 (8th Cir.2007) (quoting Stevenson v. Union Pac. R.R. Co., 354 F.3d 739, 746 (8th.

Cir.2004)); Fid. Nat. Title Ins. Co. v. Captiva Lake mv., LLC, 4:10-CV-1890 CEJ, 2015 WL

94560, at *2 (ED Mo Jan 7, 2015). As a related consequence of the fact that Counter-Plaintiff

has no proof at all of any actual “destruction” or “failed preservation” by Counter-Defendant

Sawyer, neither does Counter-Plaintiff have any proof at all of Counter-Defendant Sawyer’s

intentional or wilful conduct designed to suppress some determination by the fact-finder. A

litigant’s anxious speculation does not satisfy the standard of a showing of willfulness or confirm
 that the allegedly relevant evidence—namely, the animal itself—was “destroyed” at all, much

 less destroyed out of a specific malicious intent to put it beyond the reach and inquiry of

 Counter-Plaintiff in the civil action. Hyperbole alone by Counter-Plaintiff cannot substitute in for

 the direct evidence required to demonstrate such malicious intent; before even a reasonable

 inference could be drawn regarding that topic, there would first have to be a sufficient

 foundational showing by the moving party, entirely absent here, that the party who destroyed the

 evidence, Counter-Defendant Sawyer, personally had notice both of the potential claim and of

 the item’s potential relevance.” Nation-Wide Check Corp. v. Forest Hills Distributors, Inc., 692

F.2d 214, 218 (1st Cir. 1982). Counter-Plaintiffs exhortation of personal belief that the animal

itself is “relevant” does not equate to that claim being true, or to Counter-Defendant’s individual

knowledge or awareness of such purported relevance. In circumstances where no such evidence

exists, no sanctions are warranted and anything such as an order of an ultimate sanction by the

dismissal of claims or default judgment would be considered reversible error. See, Mayes v.

Black & Decker (U.S.), Inc., 931 F Supp 80, 83 (DNH 1996).

III. A Sanction Of Dismissal Of Counter-Defendant Sawyer’s Claims Is Inappropriate

        Finally, it is critical to note here that in cases where sufficient proof is made of spoliation

and probative evidence adduced of the requisite intent, still the sanction imposed must

nevertheless be ‘just” and “specifically related to the particular ‘claim’ which was at issue in the

order to provide discovery.” Shelton v. Am. Motors Corp., 805 F2d 1323, 1329 (8th Cir 1986).

Prejudice, bad faith, and evidence of an effort to suppress the truth are all required to impose the

most severe sanction of dismissal based upon spoliation. Menz v. New Holland N. Am., Inc., 440

F3d 1002, 1006 (8th Cir 2006). None of those elements are met here at all as to Counter

Defendant Sawyer.
         The federal courts are clear that an applicable sanction should be molded to serve the

 prophylactic, punitive, and remedial rationales underlying the spoliation doctrine, and should be

 designed to: (1) deter parties from engaging in spoliation; (2) place the risk of an erroneous

 judgment on the party who wrongfully created the risk; and (3) restore “the prejudiced party to

 the same position he would have been in absent the wrongful destruction of evidence by the

 opposing party. West v. Goodyear Tire & Rubber Co., 167 F3d 776, 779 (2d Cir 1999).

        There is a strong policy favoring a trial on the merits and against depriving a party of his

 day in court.” Fox v. Studebaker-Worthington, Inc., 516 F.2d 989, 996 (8th Cir. 1975); Edgar v.

 Slaughter, 548 F2d 770, 772 (8th Cir 1977). Default judgment as a sanctions option should be

 employed only when a litigant’s misconduct is particularly egregious or extreme. Estate of Solis—

 Rivera v. United States, 993 F.2d 1,2 (1st Cir.1993); Northern Assurance Co. v. Ware, 145

 F.R.D. 281, 282 n. 2 (D.Me.l993) (Gene Carter, C.J.) (noting “that the most severe sanction of

dismissal should be reserved for cases where a party has maliciously destroyed relevant evidence

with the sole purpose of precluding an adversary from examining that relevant evidence”).

Again, no sanction, and certainly no extreme sanction, is warranted by the paucity of facts

presented to this Court that were required in the motion to meet the high standards imposed for

such a claim of sanctions against Counter-Defendant Sawyer.

DATED: June 11, 2018                                 GEORDIE DUCKLER, P.C.


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